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                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF NextGen 1.7.1.1
                                 Eastern Division

UNITED STATES OF AMERICA
                                          Plaintiff,
v.                                                        Case No.: 1:22−cr−00323
                                                          Honorable Steven C. Seeger
Thomas Pavey, et al.
                                          Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Thursday, July 13, 2023:


        MINUTE entry before the Honorable Steven C. Seeger as to Raheim Hamilton:
Status hearing held. Parties report on status of discovery and the government's intention to
supersede the current charges. A status hearing is set for September 6, 2023 at 10:15 a.m.
Without objection, time is excluded in the interest of justice from July 13, 2023 to and
including September 6, 2023 pursuant to 18 U.S.C. § 3161(h)(7)(A) for reasons stated on
the record. Mailed notice. (exr, )




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